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                 4                                UNITED STATES DISTRICT COURT
                 5                                        DISTRICT OF NEVADA
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                 7    UNITED STATES OF AMERICA,                                Case No. 2:19-CR-81 JCM (DJA)
                 8                                             Plaintiff(s),                  ORDER
                 9           v.
               10     OSCAR OWALDO BUSTOS-GONZALEZ,
               11                                         Defendant(s).
               12
               13            Presently before the court is defendant Oscar Oswaldo Bustos-Gonzalez’s motion for
               14     appointment of counsel for the purpose of his compassionate release. (ECF No. 38).
               15            Defendant seeks compassionate release. (ECF No. 37). Having reviewed these motions,
               16     and in accordance with General Order 2020-06, the court will grant defendant’s motion for
               17     appointment of counsel. (ECF No. 38).
               18            Accordingly,
               19            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that defendant’s motion
               20     (ECF No. 38) be, and the same hereby is, GRANTED.
               21            IT IS FURTHER ORDERED that the federal public defender is appointed as counsel to
               22     represent the defendant, unless the federal public defender declines the appointment, on the basis
               23     of a conflict, and files a motion requesting the appointment of CJA counsel no later than fourteen
               24     (14) days from the date of this order.
               25            DATED September 25, 2020.
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               27                                                      UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge
